                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
`                      BRYSON CITY DIVISION
                             2:12 cr 33-2


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
KENNETH ASHE.                                )
______________________________________       )


       THIS CAUSE came on to be heard before the undersigned, pursuant to a

Motion to Withdraw as Counsel for Defendant (#72) filed by Defendant’s attorney

Rodney G. Hasty. In the motion, Mr. Hasty request permission to withdraw as

counsel for Defendant and states “there is a complete breakdown in counsel’s

ability to communicate effectively with the Defendant, and denying this Motion

and forcing counsel to remain in the case would seriously impair the Defendant’s

ability to receive his constitutional right to assistance of counsel.” At the call of

this matter on for hearing it appeared that Defendant was present with his attorney,

Ms. Hasty and the Government was present through Assistant United States

Attorney Richard Edwards. And from the statements of Mr. Hasty, the Defendant,

and the arguments of Mr. Hasty and the arguments of Mr. Edwards, the Court

makes the following findings.




                                         1



      Case 2:12-cr-00033-MR-WCM     Document 78     Filed 08/12/13   Page 1 of 5
      Findings.     The undersigned determined at the call of the hearing of the

motion, there could possibly be confidential communications between Defendant

and Mr. Hasty that would disclosed and therefore conducted the hearing of the

motion to withdraw as a sealed proceeding in which Mr. Edwards was excluded.

After conducting the hearing with Defendant and Mr. Hasty in the sealed

proceeding, the undersigned closed the sealed proceeding and invited Mr. Edwards

to appear again in the courtroom.

      Defendant was charged in a single count of a bill of indictment charging him

with conspiracy to traffic in crack cocaine. Defendant entered a guilty plea (#54)

on March 19, 2013 to that charge. The Presentence Report has been filed in this

matter but sentencing has not been scheduled.

      The undersigned made an inquiry in the sealed proceeding as to the reasons

for any conflict between Defendant and Mr. Hasty. This inquiry shall appear in the

sealed proceeding record.    It is the opinion of Mr. Hasty that his ability to

communicate effectively with Defendant is nonexistent.               This failure to

communicate is not due to any fault of Mr. Hasty.

      Upon inquiry, the undersigned found that this matter has not yet been

scheduled for sentencing.

      Discussion. An indigent Defendant has no right to have a particular lawyer


                                        2



    Case 2:12-cr-00033-MR-WCM       Document 78     Filed 08/12/13    Page 2 of 5
represent him or her and can demand a different appointed attorney only with good

cause. US v. Allen, 789 F.2d 90, 92 (1st Cir. 1986) The determination of whether

or not a motion to withdraw should be granted is within the discretion of the trial

court and the Court is entitled to take into account the countervailing state interest

in proceeding on schedule. Morris v. Slappy, 461 U.S. 1 (1983) In considering the

motion herein, undersigned has considered the following factors: (1) timeliness of

the motion; (2) inquiry as to the reasons why Mr. Hasty has filed the motion to

withdraw; and (3) whether or not there is such a conflict between Defendant and

Mr. Hasty that is so great it has resulted in a total lack of communication

preventing an adequate defense. United States v. Gallop, 838 F.2d 105 (4th Cir.

1988).

      Although the Presentence Report in this matter has been filed, the sentencing

in the case has not yet been scheduled. As a result, the undersigned will weigh this

factor in favor of granting the motion.

      The undersigned inquired as to the reasons for the conflict between

Defendant and Mr. Hasty. As stated above, it appears it is Mr. Hasty’s opinion that

he and Defendant can no longer communicate in regard to this case. Without

disclosing the reasons for this lack of noncommunication, the Court is of the

opinion that the lack of communication is based upon decisions made by


                                          3



    Case 2:12-cr-00033-MR-WCM        Document 78     Filed 08/12/13   Page 3 of 5
Defendant and not based upon any act or failure to act or provide counsel on the

part of Mr. Hasty. The undersigned has given great consideration to this factor and

has determined, based upon the opinion of Mr. Hasty, to weigh this factor in favor

of granting Mr. Hasty’s motion.

      The undersigned has further examined this matter to determine whether or

not there is such a conflict between Mr. Hasty and Defendant that there is a total

lack of communication between them preventing an adequate defense. Based upon

the statements made by Mr. Hasty and Defendant, the undersigned has determined

there is such a conflict between Mr. Hasty and Defendant that is a total lack of

communication between them preventing a defense.

      After considering all of the above referenced factors, it appears there is time

before sentencing within which to appoint other counsel who can obtain

knowledge of the case equal to that as possessed by Mr. Hasty. As a result of the

inquiry made by the undersigned, it does appear there is a lack of communication

between Mr. Hasty and Defendant that would prevent an adequate defense and

after weighing all of the factors, the Court has determined their weight should be in

favor of granting the motion of Mr. Hasty to withdraw. Based upon the foregoing,

the undersigned has determined to enter an Order allowing the Motion to

Withdraw (#72) and order the appointment of substitute counsel.


                                         4



    Case 2:12-cr-00033-MR-WCM       Document 78     Filed 08/12/13   Page 4 of 5
                                      ORDER

      IT IS, THEREFORE, ORDERED that the Motion to Withdraw (#72) of

Rodney G. Hasty is hereby ALLOWED. Mr. Hasty is ordered and directed to, as

expeditiously as possible, provide all discovery and other documents, photographs,

reports and any other materials that Mr. Hasty has obtained in the investigation of

this matter to substitute counsel and further that Mr. Hasty provide assistance to

substitute counsel to assist Defendant. It is further ORDERED that the Federal

Defenders’ Office shall forthwith appoint substitute counsel to represent Defendant

in this matter.

                                              Signed: August 12, 2013




                                        5



    Case 2:12-cr-00033-MR-WCM      Document 78       Filed 08/12/13     Page 5 of 5
